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 9                           UNITED STATES DISTRICT COURT
10                         NORTHERN DISTRICT OF CALIFORNIA
11                               SAN FRANCISCO DIVISION
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13   IN RE: CATHODE RAY TUBE (CRT)            Master File No. CV- 07-5944-SC
     ANTITRUST LITIGATION
14   ____________________________________     MDL No. 1917
     This Document Relates to:
15                                             FINAL JUDGMENT OF DISMISSAL WITH
16                                             PREJUDICE AS TO DEFENDANTS
     ALL DIRECT PURCHASER ACTIONS              SAMSUNG SDI CO. LTD. (F/K/A SAMSUNG
17                                             DISPLAY DEVICES CO., LTD.); SAMSUNG
                                               SDI AMERICA, INC.; SAMSUNG SDI
18                                             BRASIL, LTD.; TIANJIN SAMSUNG SDI
                                               CO., LTD.; SAMSUNG SHENZHEN SDI
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                                               CO., LTD.; SDI MALAYSIA SDN. BHD.;
20                                             AND SDI MEXICO S.A. DE C.V.

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     FINAL JUDGEMENT OF DISMISSAL WITH PREJUDICE AS TO DEF. SAMSUNG SDI—CV-07-5944-SC
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 1          This matter has come before the Court to determine whether there is any cause why this

 2   Court should not approve the settlement with Defendants Samsung SDI Co. Ltd. (f/k/a Samsung

 3   Display Devices Co., Ltd.); Samsung SDI America, Inc.; Samsung SDI Brasil, Ltd.; Tianjin

 4   Samsung SDI Co., Ltd.; Samsung Shenzhen SDI Co., Ltd.; SDI Malaysia Sdn. Bhd.; and SDI

 5   Mexico S.A. de C.V. (collectively, “Samsung SDI”) set forth in the Settlement Agreement

 6   (“Agreement”), dated February 11, 2014, relating to the above-captioned litigation. The Court,

 7   after carefully considering all papers filed and proceedings held herein and otherwise being fully

 8   informed in the premises, has determined (1) that the Settlement should be approved, and (2) that

 9   there is no just reason for delay of the entry of this Final Judgment approving this Agreement.

10   Accordingly, the Court directs entry of Judgment which shall constitute a final adjudication of this

11   case on the merits as to the parties to the Agreement. Good cause appearing therefor, it is:

12          ORDERED, ADJUDGED AND DECREED THAT:

13          1.      The Court has jurisdiction over the subject matter of this litigation, and all actions

14   within this litigation and over the parties to the Agreement, including all members of the Class and

15   Defendants.

16          2.      The definitions of terms set forth in the Agreement are incorporated hereby as

17   though fully set forth in this Judgment.

18          3.      The Court hereby finally approves and confirms the settlement set forth in the

19   Agreement and finds that said settlement is, in all respects, fair, reasonable and adequate to the

20   Class pursuant to Rule 23 of the Federal Rules of Civil Procedure.

21          4.      Pursuant to Fed. R. Civ. P. 23(g), Lead Counsel, previously appointed by the Court,

22   Saveri & Saveri Inc., is appointed as counsel for the Class. This firm has and will fairly and

23   competently represent the interests of the Class.

24          5.      Those persons/entities identified on Exhibit C to the Declaration of Ross Murray in

25   Support of Final Approval of Class Action Settlements filed on August 1, 2014, who/which have

26   submitted timely requests for exclusion have validly requested exclusion from the Class and,

27   therefore, are excluded. Such persons/entities are not included in or bound by this Final Judgment.

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     FINAL JUDGEMENT OF DISMISSAL WITH PREJUDICE AS TO DEF. SAMSUNG SDI—CV-07-5944-SC
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 1   Such persons/entities are not entitled to any recovery of the settlement proceeds obtained through

 2   this settlement.

 3          6.      This Court hereby dismisses on the merits and with prejudice the Class Action in

 4   favor of Samsung SDI, with each party to bear their own costs and attorneys’ fees.

 5          7.      All persons and entities who are Releasors are hereby barred and enjoined from

 6   commencing, prosecuting or continuing, either directly or indirectly, against the Samsung SDI

 7   Releasees, in this or any other jurisdiction, any and all claims, causes of action or lawsuits, which

 8   they had, have, or in the future may have, arising out of or related to any of the Released Claims as

 9   defined in the Agreement.

10          8.      The Samsung SDI Releasees, are hereby and forever released and discharged with

11   respect to any and all claims or causes of action which the Releasors had or have arising out of or

12   related to any of the settled claims as defined in the Agreement.

13          9.      The notice given to the Class of the settlement set forth in the Agreement and the

14   other matters set forth herein was the best notice practicable under the circumstances, including

15   individual notice to all members of the Class who could be identified through reasonable efforts.

16   Said notice provided due and adequate notice of those proceedings and of the matters set forth

17   therein, including the proposed settlement set forth in the Agreement, to all persons entitled to such

18   notice, and said notice fully satisfied the requirements of Rules 23(c)(2) and 23(e)(1) of the Federal

19   Rules of Civil Procedure and the requirements of due process.

20          10.     Without affecting the finality of this Judgment in any way, this Court hereby retains

21   continuing jurisdiction over: (a) implementation of this settlement and any distribution to Class

22   Members pursuant to further orders of this Court; (b) disposition of the Settlement Fund (c) hearing

23   and determining applications by plaintiffs for attorneys’ fees, costs, expenses, and interest; (d) the

24   Action until the Final Judgment contemplated hereby has become effective and each and every act

25   agreed to be performed by the parties all have been performed pursuant to the Agreement; (e)

26   hearing and ruling on any matters relating to the plan of allocation of settlement proceeds; and (f)

27   all parties to the Action and Releasors, for the purpose of enforcing and administering the

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     FINAL JUDGEMENT OF DISMISSAL WITH PREJUDICE AS TO DEF. SAMSUNG SDI—CV-07-5944-SC
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 1   Agreement and the mutual releases and other documents contemplated by, or executed in

 2   connection with the Agreement.

 3          11.     The Court finds, pursuant to Rules 54(a) and (b) of the Federal Rules of Civil

 4   Procedure, that this Final Judgment should be entered and further finds that there is no just reason

 5   for delay in the entry of this Judgment, as a Final Judgment, as to the parties to the Agreement.

 6   Accordingly, the Clerk is hereby directed to enter Judgment forthwith.

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 8          IT IS SO ORDERED.

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             July 22, 2015
     Dated: _____________________                          ________________________________
11
                                                           Hon. Samuel Conti
12                                                         United States District Judge
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     FINAL JUDGEMENT OF DISMISSAL WITH PREJUDICE AS TO DEF. SAMSUNG SDI—CV-07-5944-SC
